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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA



LEAGUE OF CONSERVATION VOTERS, et al.,          )
                                                )
            Plaintiffs,                         ) Case No. 3:17-cv-00101-SLG
                                                )
      v.                                        )
                                                )
DONALD J. TRUMP, et al.,                        )
                                                )
            Defendants.                         )
________________________________________________)

  DEFENDANTS' REPLY MEMORANDUM IN SUPPORT OF THEIR MOTION FOR
                     SUMMARY JUDGMENT AND
     OPPOSITION TO PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT




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I.       INTRODUCTION

         The Outer Continental Shelf Lands Act (OCSLA), 43 U.S.C. §§ 1331-1356b, enacted in

1953, is a statute designed to fuel the nation by encouraging development of minerals from the

Outer Continental Shelf (OCS). Yet Plaintiffs ask this Court to interpret Section 12(a) of OCSLA

to allow one president to permanently remove some, or even all, of the OCS from future

development activities – the very activities that are expressly authorized by the statute. Under

Plaintiffs' reading, only Congress could reverse that action through subsequent legislation. They

claim that Section 12(a) is one-way ratchet that broadly authorizes any one President to limit the

national potential for leasing, exploration, and development in the OCS for all time while

simultaneously tying the hands of that same President and all future presidents, even if those

limits prove unwise or contrary to the critical national priorities that OCSLA advances, including

energy development and national security.

         The Court should reject this distorted and cramped reading of Section 12(a). The

President's authority to take actions to bring valuable resources to market, as intended by

OCSLA, necessarily encompasses the authority to reconsider and revise prior withdrawals. Such

an interpretation is supported by the statute's plain language, Congress' original purpose, and

longstanding principles of constitutional, legislative, and administrative law. The Executive

Branch's authority to execute a discretionary government power customarily includes the

authority to revoke it, such as the President's implied authority to terminate treaties and

appointments, and executive agencies' authority to rescind or revise regulations. Thus, even if

Plaintiffs could meet their burden to establish Article III standing and ripeness – which they

cannot – the Court should uphold the President's lawful exercise of his authority under Section

12(a).




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II.    ARGUMENT

       Plaintiffs' efforts to defeat the Defendants' motion for summary judgment are based on

 misinterpretations of the governing law and applicable statute. First, they ask this Court to

 ignore its duty to reexamine the jurisdictional questions of standing and ripeness based on an

 erroneous application of the law of the case doctrine. Because Plaintiffs have a higher standard

 of proof at the summary judgment stage, it is proper and necessary for the Court to reexamine

 its jurisdiction. In so doing, the Court should conclude that the Plaintiffs have failed to meet

 their burden.

       Second, Plaintiffs ask this Court to distort and trample on the language and, indeed, the

 entire structure and purpose of OCSLA, to conclude that the President lacked sufficient

 authority to issue Executive Order No. 13795, which the President issued citing his authority

 under the “Constitution and the laws of the United States of America, including the Outer

 Continental Shelf Lands Act, 43 U.S.C. [§] 1331 et seq.” (“OCSLA”). To reach this conclusion,

 Plaintiffs selectively read phrases out of the statute, ignore congressional intent, and rely on

 statutes with entirely different purposes. Moreover, Plaintiffs split hairs to distinguish President

 Trump's actions from those of prior Presidents pursuant to OCSLA Section 12(a). For these

 reasons, even if Plaintiffs established the jurisdictional minimums of standing and ripeness, the

 Defendants are entitled to judgment as a matter of law.

       A.        The Law of the Case Doctrine Does Not Bar The Court From Determining
                 Whether There Is Jurisdiction To Decide Plaintiffs' Claims.

       Plaintiffs assert that the Court's consideration of their Article III standing and the ripeness

of their claims is barred by the "law of the case" doctrine. Pl. Reply at 1-3, but their reliance on

that doctrine is misplaced.




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        The law of the case doctrine "is a judicial invention designed to aid in the efficient

operation of court affairs." United States v. Lummi Nation, 763 F.3d 1180, 1185 (9th Cir. 2014)

(quoting United States v. Lumni Indian Tribe, 235 F.3d 443, 452 (9th Cir. 2000)). While

application of this doctrine "generally" precludes a court from reconsidering an issue previously

decided, the "law of the case doctrine does not preclude a court from reassessing its own legal

rulings in the same case." Askins v. U.S. Dep't of Homeland Sec., 899 F.3d 1035, 1042 (9th Cir.

2018); see also Fed. R. Civ. P. 54(b) ("[A]ny order or other decision, however designated, that

adjudicates fewer than all the claims . . . may be revised at any time before the entry of a

judgment . . . ."). Although the doctrine "directs a court's discretion, it does not limit the

tribunal's power." Pepper v. United States, 562 U.S. 476, 506 (2011) (quotations and citation

omitted).

        Plaintiffs contend that there has been no change in circumstances warranting the Court's

reconsideration of the standing and ripeness issues. But when the Court moves from resolving a

motion to dismiss to ruling on the merits of Plaintiffs' claims, the standard of proof on these

issues necessarily changes. As the Supreme Court has stated, at the pleadings stage, plaintiffs can

rely on "general factual allegations," while at the summary judgment stage they must come

forward with admissible evidence of specific facts that establish the court's jurisdiction. See

Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992).

        Where, as here, the question presented is whether the Court has jurisdiction, the law of

the case doctrine "should not be applied woodenly in a way inconsistent with substantial justice."

United States v. Miller, 822 F.2d 828, 832-833 (9th Cir. 1986) (citation omitted). The Ninth

Circuit Court of Appeals has held that the law of the case doctrine is not "an inexorable

command" or a limit on the court's power. EEOC v. Global Horizons, Inc., 904 F. Supp. 2d




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1074, 1091 (D. Haw. 2012) (quoting United States v. Smith, 389 F.3d 944, 949 (9th Cir. 2004)

(per curiam). A trial judge has broad discretion to reconsider earlier rulings and, in this case,

Defendants' Motion for Summary Judgment provides ample reasons to do so. See Kamakana v.

City & Cty. of Honolulu, 447 F.3d 1172, 1186 (9th Cir. 2006); Rec. Doc. 56 at 13-18. The

Court's unflagging duty to assure itself of Article III jurisdiction is not an issue that can be

waived, so the law of the case doctrine should not bar consideration of the question under the

heightened standard of proof. Cf. Christianson v. Colt Indus. Operating Corp., 486 U.S. 800,

818-19 (1988) (finding that the Seventh Circuit did not err in reexamining the question of

jurisdiction even though a prior decision by another court in the same case had found that

jurisdiction was proper in the Seventh Circuit).

       B.      Plaintiffs Lack Article III Standing.

       Plaintiffs address only one aspect of the Defendants' arguments regarding standing,

arguing that their claim is redressable because seismic surveys are unlikely to occur in the

absence of Executive Order No. 13795. 1 Plaintiffs accuse Defendants, Pl. Reply at 3, of not

"providing any evidence" that the government has issued seismic permits in areas that are

withdrawn from leasing. But evidence shows that operators will apply for geophysical and

geological exploration permits even in areas that have been withdrawn from development.

       For example, Section 104 of the Gulf of Mexico Energy Security Act of 2006

(GOMESA), Pub. L. 109-432, 120 Stat. 3000, 3003, prohibited the Department of the Interior

from offering for oil and gas leasing any areas east of the Military Mission Line in the Eastern

Planning Area of the Gulf of Mexico until June 30, 2022. Since GOMESA's enactment, the



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 For the reasons set forth in the Memorandum in Support of the Defendants' Motion to Dismiss
ECF 13, 16-25, Plaintiffs also lack standing because they have failed to establish a particularized
harm.

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Bureau of Ocean Energy Management has issued thirty-four permits to entities interested in

conducting geological or geophysical activities for the exploration of minerals in this area.

Twenty-six of the thirty-four permits were issued for the acquisition of information regarding oil

and gas resources, and all but one of these permits were issued before the issuance of Executive

Order No. 13795.

       Further, the Department of the Interior's Bureau of Ocean Energy Management is

currently considering nine applications for geological and geophysical exploration activities in

the Atlantic. See Def. Br. at 15 n.9 (citing https://www.boem.gov/Currently-submitted-Atlantic-

OCS-Region-Permits/ (last accessed Oct. 5, 2018)). 2 Most of these applications were filed before

Executive Order No. 13795 and contemplated surveys in areas withdrawn from oil and gas

leasing by President Obama, or that were not made available for oil and gas leasing under the

Department of the Interior's 2017-2022 oil and gas leasing program. See Memorandum on

Withdrawal of Certain Areas off the Atlantic Coast on the OCS from Mineral Leasing, 2016

Daily Comp. Pres. Docs. 861 (Dec. 20, 2016); Def. Br. at 15 n.9 (citing Department of the

Interior, Bureau of Ocean Energy Management, Memorandum of Approval and Record of

Decision for the Five Year Outer Continental Shelf (OCS) Oil and Gas Leasing Program for




2
  To the extent Plaintiffs are arguing that these facts are not supported by admissible evidence,
they are incorrect. The cited information is collected and reported by the Department of the
Interior pursuant to its statutory duties, including those under OCSLA, and therefore are
government reports and business records within the meaning of Federal Rules of Evidence
803(6) and (8). The appearance, context, and nature of these documents, moreover is more than
sufficient to satisfy the authentication requirements of Rule 901(4).



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2012-2017 (Aug. 27, 2012), https://www.boem.gov/5-year/2012-2017/ (Last accessed Oct. 5,

2018)). 3

        The fact that many of the geological and geophysical applications currently under

consideration, or permits issued, were either submitted or granted prior to Executive Order No.

13795 shows that Plaintiffs' argument about the unlikelihood of geological and geophysical

activities in areas not available for oil and gas leasing in the absence of the Executive Order is

incorrect.

        Further, Plaintiffs have established neither ripeness nor imminent harm. As set forth more

fully in Defendants' opening brief, each of Plaintiffs' alleged harms will flow, if at all, from

anticipated future action by the agencies. See Def. Br. at 4-5. Executive Order No. 13795 itself

does not cause any specific leasing or exploration activity, it simply authorizes the Secretary of

the Interior to consider areas for leasing. In Oceana v. Bureau of Ocean Energy Management, 37

F. Supp. 3d 147 (D.D.C. 2014), the court found that leasing activities could continue while a

reinitiated Endangered Species Act Section 7, 16 U.S.C. § 1536, consultation was underway

because the Department of the Interior had already conducted an environmental analysis and

would do so again at each subsequent phase of the four-step development process. Id. at 177-78.

Similarly, the programmatic act of simply opening an area to leasing will not lead to harm

because the Department of the Interior is obligated prior to each stage – leasing, exploration, and

development – to take the requisite OCSLA steps, each of which include assessing impacts under




3
 Five of the nine applications for geological and geophysical exploration permits currently under
evaluation were filed in 2014. See https://www.boem.gov/Currently-submitted-Atlantic-OCS-
Region-Permits/ (Last accessed on Oct. 5, 2018).



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statutes such as the Endangered Species Act, 16 U.S.C. §§ 1531-1544, and the National

Environmental Policy Act, 42 U.S.C. §§ 4321-4370m-12.

       For these reasons, as set forth more fully in the Defendants' opening brief, ECF No. 56,

the Defendants have demonstrated that Plaintiffs have not and cannot establish a causal link

between Executive Order No. 13795 and the harm of which they complain. They have neither

standing nor claims that are ripe for redress by this Court.

       C.      Plaintiffs' Ultra Vires Claims Fail as a Matter of Law.

               1.      Plaintiffs' Interpretation of OCSLA is Contrary the Language of
                       Section 12(a), the Structure and Purpose of the Statute, and Its
                       Legislative History.

       As explained in the Defendants' opening brief, the text of OCSLA, its structure and

purpose, and its legislative history all support the President's decision to modify and revoke prior

withdrawals within the OCS. Def. Br. at 22-29.

                       a.      The Language of Section 12(a)

       Plaintiffs contend that Section 12(a) of OCSLA does not authorize the President to

revoke or modify prior withdrawals, see Pl. Reply at 3-8, but their textual arguments cannot

withstand scrutiny.

                               i.      The Phrase "from Time to Time"

       Plaintiffs challenge the argument that the phrase "from time to time" provides the

President with authority to modify or revoke prior withdrawals. In so doing, Plaintiffs ignore the

principle of statutory interpretation that courts should "give effect, if possible, to every clause

and word of a statute, avoiding, if it may be, any construction which implies that the legislature

was ignorant of the meaning of the language it employed." Montclair v. Ramsdell, 107 U.S. 147,

152 (1883); accord Hibbs v. Winn, 542 U.S. 88, 101 (2004) (citing the rule against superfluities

in rejecting an interpretation that would have rendered certain words unnecessary). Yet Plaintiffs


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adopt an interpretation of Section 12(a) that would render the words "from time to time"

superfluous.

       Under Plaintiffs' reading, Section 12(a)'s authorization to make withdrawals "from time

to time" means only that the President can make withdrawals at any time. Pl. Reply at 4. But that

the same meaning is already evident from the remaining text – that the President "may . . .

withdraw from disposition any of the unleased lands." Plaintiffs' reading of Section 12(a) renders

the phrase "from time to time" unnecessary.

       Plaintiffs go further by referencing the requirement that the Secretary "from time to time,

review each" development and production plan approved pursuant to 43 U.S.C. § 1351. See 43

U.S.C. § 1351(h)(3). Plaintiffs choose their words carefully here when they assert that "reversal

or abandonment" could not have been intended by this language, notably evading the more

relevant question of whether the authority to "modify" these plans was intended. Here again, the

cited provision supports Defendants' interpretation of OCSLA 12(a), and confirms that Plaintiffs'

interpretation is incorrect. Under 43 U.S.C. § 1351(h)(3), the Secretary must from "time to time"

review previously approved plans and, where deemed necessary, require a "revision" of the plan.

See 30 C.F.R. § 550.284. Nothing in the text prohibits the Secretary from requiring a revision

that shuts down the exploration or development activity, and Plaintiffs' assertion to the contrary

is simply unsupported.

       Plaintiffs' final example with respect to interpreting the phrase "from time to time" is

equally unavailing. The provision addressing the Coast Guard's authority to modify its

regulations cannot be used to interpret the meaning of Section 12(a) because it was enacted

decades after Section 12(a) went into effect. See Outer Continental Shelf Lands Act

Amendments of 1978, Publ. L. 95-372, tit. II, § 208, 92 Stat. 629, 654. Moreover, this provision




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is consistent with the interpretation that authorizing actions from "time to time" is meant to

delegate to the Executive the authority to modify prior decisions in light of changed

circumstances or needs. 4

       Plaintiffs' claim that the plain language of Section 12(a) prohibits modifications or

reversals of prior withdrawals fails because the phrase from "time to time" must be given

meaning. That meaning, when construed in accordance with the statute's structure, purpose, and

legislative history, is to give the President authority to revisit and revise prior withdrawal

decisions to account for changes in circumstances or need.

                               ii.     Other Statutes Using the Term "Withdrawal"

       Plaintiffs reject the Executive's ability to modify, revise, or reverse withdrawals, pointing

out that other statutes using the word "withdrawal" have been construed not to allow

modification or reversal of prior withdrawals. Pl. Reply at 6-7. In so doing, Plaintiffs impliedly,

and mistakenly, invoke the "doctrine of in pari materia," which posits that laws of the same

matter and on the same subject must be construed with reference to each other, so as to promote

uniformity and predictability in the law. United States v. Mills, 850 F.3d 693, 698-99 (4th Cir.

2017). That doctrine, however, is inapplicable when statutes have different purposes. Id. at 699

(citing Wachovia Bank v. Schmidt, 546 U.S. 303, 316 (2006)).

       When Section 12(a) was enacted, "Over four hundred statutes, thousands of Executive

orders, numerous administrative regulations and administrative and judicial adjudications,

constitute[d] the body of the law governing the withdrawal process." 1 Charles F. Wheatley, Jr.,




4
  Plaintiffs' reference to Section 6 of OCSLA is unavailing because that provision was designed
to address a single time event – bringing pre-OCSLA state-issued leases under the newly created
statutory scheme. As such, it is not an analogous provision to Section 12(a) and does not inform
the analysis.

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Study of Withdrawals and Reservations of Public Domain Lands, 1 (Pub. Land Law Review

Comm'n 1969) (http://hdl.handle.net/2027/wu.89041980905 (last accessed Oct. 5, 2018)). To

suggest that there is a uniform phrasing or intent behind each of those four hundred statutes, as

Plaintiffs do, is to disregard the array of purposes reflected in these statutes. The purposes of

these statutes range from protecting water reserves for stock management (Stock-Raising

Homestead Act of 1916, 43 U.S.C. §§ 291-301), protecting grazing lands from settlement

(Taylor Grazing Act of 1934, 43 U.S.C. §§ 311-315 (repealed Aug. 1, 1955)), protecting

scientific and archeological resources (see 1 Wheatley at 12), creating township sites in

connection with irrigation projects (the Reclamation Act of June 17, 1902, 43 U.S.C. §§ 371-

616yyyy), to developing the resources of the OCS (OCSLA, 43 U.S.C. §§ 1331-1356b). With

such differing purposes, the Plaintiffs' attempt to apply the in pari materia doctrine must fail.

       Later in their reply, Pl. Reply at 12, Plaintiffs argue that OCSLA should be interpreted in

light of the Antiquities Act. Even granting Plaintiffs' erroneous assumption that the Antiquities

Act prohibits the modification of a withdrawal – an issue the Court need not reach in this matter

– the purposes of the two statutes are extraordinarily different. 5 OCSLA is a statute specifically

aimed at the development of minerals found on the OCS. Its sole reason for existing is to make

productive use of the vast resources newly claimed on behalf of the United States. By contrast,

the Antiquities Act is a protective statute. See Act of June 8, 1906, ch. 3060, § 1, 34 Stat. 225.




5
  In a footnote, Plaintiffs appear to challenge whether the President can modify national
monuments under the Antiquities Act. Pl. Reply at 12 n.7. This question is not relevant to the
issue of whether OCSLA permits the modification or revocation of prior withdrawals and need
not be addressed by the Court. Moreover, Plaintiffs' assertion is incorrect. The Federal Land
Policy Management Act (FLPMA), 43 U.S.C. §§ 1701-1787, itself says nothing about limiting
the President's authority under the Antiquities Act; rather, it only prevents the Secretary of the
Interior from utilizing the authority granted by FLPMA to modify or revoke an Antiquities Act
reservation. See id. § 1714(j).

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Thus, setting aside the Plaintiffs' flawed interpretation of the Antiquities Act, any interpretation

of that statute is inapposite to the question at bar.

        Plaintiffs' argument that OCSLA must be construed in pari materia with the statutes

governing federal uplands also fails in light of the distinction between the nature of the OCS and

the federal uplands. Beginning with the Truman Proclamation, Proclamation No. 2667, 10 Fed.

Reg. 12,303 (Sept. 28, 1945), the three branches of government have all recognized that the

nature of the United States' jurisdiction over the OCS is different in kind from that of federal

land. In 1947, the Supreme Court held the federal government rather than the individual states

had paramount rights in and power over the offshore three-mile marginal belt and full dominion

over the resources of the soil under that area of water, including oil. See United States v.

California, 332 U.S. 19, 29-31 (1947), opinion supplemented per curiam, 332 U.S. 804 (1947).

As of 1953, therefore, the United States did not assert any role in the ocean or the seabed beyond

the territorial sea other than the right to develop the minerals found there.

        Congress recognized this distinction between paramountcy over seabed resources and

full ownership or sovereignty several years later when it enacted OCLSA and then ratified the

United Nations Convention on the Continental Shelf ("Convention"). Law of the Sea:

Convention on the Continental Shelf, art. 2(1), June 10, 1964, 15 U.S.T. 471, T.I.A.S. No. 5578,

(The United States, as a coastal state, "exercises over the continental shelf sovereign rights for

the purpose of exploring it and exploiting its natural resources."). As with the Truman

Proclamation, the Convention recognized the limited nature of the rights of coastal states to the

subsoil and seabed of the Continental Shelf. The United States signed the Convention on

September 15, 1958, and Congress ratified it on April 12, 1961. Thus, Congress and the

Executive confirmed their recognition that coastal states' rights in the continental shelf were not




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absolute but limited including, however, the exclusive right to explore and exploit its natural

resources. See also Administration of Coral Reef Resources in the Northwest Hawaiian Islands,

24 Op. O.L.C. 183, 192 (2000) ("OCSLA gave the Government control only over mineral

resources . . . .").

          Courts also have recognized the unique character of the United States' jurisdiction over

the OCS. For instance, in Treasure Salvors v. Unidentified Wrecked & Abandoned Sailing

Vessel, 569 F.2d 330 (5th Cir. 1978), the Fifth Circuit considered whether the OCS should be

treated as lands owned or controlled by the United States for purposes of determining the

applicability of the Antiquities Act. The case involved an action for possession and confirmation

of title to an abandoned Spanish galleon located on the OCS. The United States asserted title to

the vessel chiefly upon two grounds: (1) application of the Antiquities Act to objects located on

the OCS; and (2) the right of the United States, as heir to the sovereign prerogative asserted by

the Crown of England, to goods abandoned at sea and found by its citizens. The court considered

the Truman Proclamation, the Submerged Lands Act, OCSLA, and the Convention and

concluded that the United States exercised control and jurisdiction over the OCS solely for

purposes of exploiting its resources and, therefore, "the remains of the Atocha are not situated on

lands owned or controlled by the United States under the provisions of the Antiquities Act." Id.

at 340.

          In sum, Plaintiffs' interpretation of Section 12(a) is drawn from statutes that govern very

different types of property for very different purposes and thus sheds no light on its meaning.




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                                iii.    Changes in Policy

        Plaintiffs next make the sweeping claim that there is a general bar prohibiting the

President from changing policy decisions made by prior presidents in the exercise of delegated

authority. Pl. Reply at 8. That is incorrect.

        First, there is no general bar that prevents the Executive Branch from revisiting and

revising earlier policy decisions. To the contrary, courts repeatedly have affirmed the inherent

authority of the Executive Branch to reconsider and reverse its decisions. See, e.g., Trujillo v.

Gen. Elec. Co., 621 F.2d 1084, 1086 (10th Cir. 1980) ("Administrative agencies have an inherent

authority to reconsider their own decisions, since the power to decide in the first instance carries

with it the power to reconsider." (citation omitted)); Tokyo Kikai Seisakusho, Ltd. v. United

States, 529 F.3d 1352, 1360 (Fed. Cir. 2008) ("The prohibition against doing something not

authorized by statute is altogether different from the power to reconsider something that is

authorized by statute. The power to reconsider is inherent in the power to decide."). The

authority to execute a discretionary government power usually includes the authority to revoke it,

unless the original grant expressly limits the power to revoke. When Congress gives an agency

the discretionary authority to issue regulations, the agency is presumed to also have the authority

to repeal them. See, e.g., Commonwealth of Pa. v. Lynn, 501 F.2d 848, 855-56 (D.C. Cir. 1974).

Plaintiffs fail to explain how a President can have less authority to reconsider his actions than

those agencies that work for him.

        This inherent authority to reconsider remains intact when the Executive Branch is

exercising delegated power, except to the extent that the statute prohibits the exercise of this

authority. See Albertson v. FCC, 182 F.2d 397, 399 (D.C. Cir. 1950) ("So we think there can be

no doubt, in the absence of statutory prohibition, that the authority of the Commission to hear




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and determine matters arising under the rehearing provision of Section 405 carries with it by

implication the authority to reconsider a ‘decision, order or requirement' made within the twenty

days allowed for an appeal. The power to reconsider is inherent in the power to decide."

(emphasis added)). As Plaintiffs recognize, moreover, whether the statute has abrogated that

inherent authority is a question that is specific to the statute in question. Pl. Reply at 8. As

demonstrated above, OCSLA does not abrogate that inherent authority; rather, the plain language

of OCSLA confirms the President's power to reconsider. And, as demonstrated below, the

legislative history similarly confirms that authority.

        The cases that Plaintiffs rely upon are distinguishable. For instance, in Gorbach v. Reno,

219 F.3d 1087 (9th Cir. 2000) (en banc), the Ninth Circuit interpreted statues that delegated to

the Attorney General the authority to cancel certificates of citizenship but expressly limited the

effect of that cancellation. Id. at 1093. OCSLA contains no such express limitation on the

President's authority to modify or reverse a prior withdrawal. In North Dakota v. United States,

460 U.S. 300 (1983), the Supreme Court interpreted the Loan Act, 16 U.S.C. § 715k-5, which

provided that "[n]o land shall be acquired with moneys from the migratory bird conservation

fund unless the acquisition thereof has been approved by the Governor of the State or the

appropriate State agency." Id. at 312 n.3. The Court held that North Dakota could not withdraw

approval previously given under the statute. In making that determination, the Supreme Court

relied heavily upon the statutory language and purpose, finding that the Loan Act was intended

to preserve wetlands and reasoning that if the states' consent were revocable, "the United States'

ability to engage in such planning [for acquisitions] would be severely hampered." Id. at 314.

The Supreme Court also concluded that it was important to limit North Dakota's discretion to

avoid frustrating congressional intent regarding the federal interest – that is, it was important to




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protect the United States' reliance interest in the state's approval. Under OCSLA, however, only

the federal government is at issue, so there is no similar need to impose restraints on the

withdrawal of approval. While changes by the states in the North Dakota case would have

hampered the statute's purposes, allowing the President to modify or revoke prior withdrawals

actually furthers the purpose of OCSLA to facilitate the development of the mineral resources on

the OCS. 6

       Plaintiffs presume that the President can undo an Executive Branch decision made

pursuant to delegated authority only with express congressional approval. Not surprisingly, their

only citation is to a Congressional Research Report, which does not support their claim. The

cited report notes that "[o]rders issued pursuant to the authority provided to the President by

Congress, as distinguished from orders that are based on the President's exclusive constitutional

authority may be legislatively modified or nullified." V.S. CHU & T. GARVEY, CONG. RES. SERV.,

R20846, EXECUTIVE ORDERS: ISSUANCE, MODIFICATION, AND REVOCATION, 9 (2014), available

at https://fas.org/sgp/crs/misc/RS20846.pdf (last accessed Oct. 5, 2018). But the report makes no

assertion that the President's authority (as opposed to congressional authority) differs with

respect to the two types of orders.

       Plaintiffs' presumption is not just unsupported, it is incorrect. In fact, the exact opposite

presumption applies to the President's exercise of power. The President's broad authority to




6
  Cases involving adjudicative decisions are not relevant to the modification or reversal of prior
withdrawals. Pl. Reply at 8-9. Accordingly, Plaintiffs' reliance on Civil Aeronautics Bd. v. Delta
Air Lines, Inc., 367 U.S. 316, 334 (1961) and Am. Trucking Ass'ns v. Frisco Transportation Co.,
358 U.S. 133, 146 (1958) is misplaced. In re Aiken County, 725 F.3d 255, 261 n.1 (D.C. Cir.
2013) is also inapposite. The question presented in that case was whether the President could
refuse to build the Yucca Mountain nuclear waste repository despite a statute requiring and
funding that action, a factually distinct scenario from that presented here.

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revisit, reverse, and undo prior decisions of the Executive Branch is inherent in the powers of the

office vested by the Constitution. U.S. CONST. art. II, § 1, cl. 1 ("The executive Power shall be

vested in a President of the United States of America."); id., § 3 (the President "shall take Care

that the Laws be faithfully executed."). When "the President acts pursuant to an express or

implied authorization of Congress, his authority is at its maximum, for it includes all that he

possesses in his own right plus all that Congress can delegate." Youngstown Sheet & Tube Co. v.

Sawyer, 343 U.S. 579, 635 (1952) (Jackson, J., concurring). The President's authority to undo or

modify prior Executive decisions, like the power to remove inferior officers, is intrinsic in the

executive power because the President is politically accountable for executing the laws. Free

Enter. Fund v. Public Co. Accounting Bd., 561 U.S. 477, 513 (2010) ("The Constitution that

makes the President accountable to the people for executing the laws also gives him the power to

do so."). "Without such power" to modify or undo past decisions of the Executive Branch, "the

President could not be held fully accountable for discharging his own responsibilities; the buck

would stop somewhere else." Id. at 514.

       Such is the case with Section 12(a)—far from restricting the President's power over

withdrawals, Congress expressly delegated authority to the President himself to make those

decisions "from time to time." Congress could have further cabined the President's discretion to

make withdrawals and to modify them. But it did not. Congress did not restrict the President's

authority over such withdrawals, other than by limiting them to unleased lands. Thus, the

President retains the power to modify and revoke those decisions under Section 12(a).

       In Executive Order 13795, the President invoked the full delegated authority that

Congress granted him in OCSLA, as well as his inherent constitutional authority under Article II.

He did so to further the critical national priorities that OCSLA advances, including energy




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development and national security. In exercising his judgment to set a difference course on these

important policy matters, the President acted within his authority.

                b. The Structure and Purpose of OCSLA

        Plaintiffs' statutory arguments are premised on the flawed assumption that OCSLA is a

statute primarily designed to keep the OCS undeveloped. But the exact opposite premise is clear

from OCSLA's original structure and purpose. When OCSLA was first enacted in 1953,

including Section 12(a), the statute consisted almost entirely of provisions aimed at the

exploration and development of the mineral, oil, and gas reserves of the OCS. See Outer

Continental Shelf Lands Act, ch. 345, 67 Stat. 462 (Aug. 7, 1953). Later amendments to the

statute, which did not affect Section 12(a), affirmed that the fundamental purpose of OCSLA is

to make the OCS "available for expeditious and orderly development . . . ." Outer Continental

Shelf Lands Act Amendments, 92 Stat. 635 (Sept. 18, 1978) (codified at 43 U.S.C. § 1332(3)).

        A well-established canon of statutory construction requires that any ambiguities in the

language of a statute – such as whether Congress intended to delegate the authority to modify

prior withdrawals – should be resolved in a way that is consistent with the stated purposes of

legislation. See, e.g., United States v. Am. Trucking Ass'ns, Inc., 310 U.S. 534, 542 (1940) ("In

the interpretation of statutes, the function of the courts is easily stated. It is to construe the

language so as to give effect to the intent of Congress."); Knebel v. Hein, 429 U.S. 288, 292 n.9

(1977) (referring to the statutory purpose when interpreting the Secretary of Agriculture's

authority to administer the Food Stamp Program). Yet Plaintiffs' interpretation of the statute

leads to the illogical result that a President may perform a de facto repeal of OCSLA by

withdrawing the entire OCS from exploration and development and that any such withdrawal is

permanent and immutable unless revoked by an act of Congress. In other words, Plaintiffs'

interpretation would allow a President to withdraw virtually all of the OCS while depriving the


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President and all future presidents of the ability to revise that determination. Under Plaintiffs'

interpretation, only subsequent legislation could modify or revoke that decision. But this

distorted reading of Section 12(a) allows a single sentence in OCSLA to swallow whole all of the

provisions that provide for exploration, leasing, and development of the OCS. Plaintiffs'

interpretation leads to illogical results that undermine OCSLA's purpose.

       Such a reading of Section 12(a) is completely inconsistent with the purpose of OCSLA,

which Congress enacted specifically "to provide for the development of . . . [the] vast mineral

resources" of the Outer Continental Shelf. S. Rep. No. 83-411 at 2 (ECF No. 56-2) (emphasis

added). Plaintiffs' construction is equally inconsistent with the subsequently added express

purpose of making the OCS "available for expeditious and orderly development, subject to

environmental safeguards, in a manner which is consistent with the maintenance of competition

and other national needs." 43 U.S.C. § 1332(3). Plaintiffs' understanding of the statute leads to

absurd results that are inconsistent with the statute as a whole and not dictated by the language of

any provision. The Court should reject that interpretation. See Griffin v. Oceanic Contractors,

Inc., 458 U.S. 564, 575 (1982) ("It is true that interpretations of a statute which would produce

absurd results are to be avoided if alternative interpretations consistent with the legislative

purpose are available." (citations omitted)).

               c. The Legislative History

       In addressing the legislative history of Section 12(a), Plaintiffs mistakenly assert that

Congress did not intend to delegate the authority to modify or reverse prior withdrawals to the

President. Pl. Reply at 9-13. But the legislative history shows that Congress intended to grant the

President wide discretion under Section 12(a) and did not seek to limit the President's authority

to withdraw, modify withdrawals, and reverse withdrawals.




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        As Plaintiffs concede, the 1953 Senate Report on OCSLA stated that the authority

bestowed upon the President by Section 12(a) was "comparable to that which is vested in him

with respect to federally owned lands on the uplands." S. Rep. No. 83-411, at 26. Yet Plaintiffs

argue that because Congress used different language in OCSLA than what was used in the

statues governing the uplands – such as the Pickett Act – Congress intended to grant less

authority to the President on the OCS. In doing so, they read into the statute a limitation that runs

contrary to the exercise of executive authority generally as well as the upland authority to which

they specifically refer. Plaintiffs' sleight of hand is to say that the structure of the uplands

withdrawal authority (that Congress explicitly granted the power to revoke there) means that

Congress did not intend to grant that authority in Section 12(a) because the power is not explicit

in that statute. But the meaning of Section 12(a) is evidenced by the broad, unfettered authority

granted in this concise statutory provision and further supported by the legislative history of

Section 12(a) that expresses congressional intent to delegate to the President the same authority

that existed on the uplands.

        As Plaintiffs implicitly acknowledge, the statutes relevant to interpreting the meaning of

Section 12(a) must have been in effect before 1953 – when that provision was enacted. At that

time, and essentially until 1976, the predominant statute addressing withdrawal authority was the

General Withdrawal Statute (the Pickett Act), ch. 421, § 1, 36 Stat. 847 (1910). The Pickett Act

"delegated to the President the general power to ‘temporarily withdraw' public land from

settlement, location, sale, or entry . . . to remain in force until revoked by the President or by

Congress." 1 Wheatley at 4. The 1953 Senate Report confirms that Congress intended to confer

the same authority on the President with respect to the OCS that it had conferred upon the

President in the Pickett Act. Because the Pickett Act authorized the President to modify and




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"revoke" prior withdrawals, Congress's meaning can hardly be clearer, giving the President broad

authority including the authority to revoke or modify prior withdrawals under OCSLA.

       Plaintiffs respond by arguing that the clear intention to make the authority on the OCS

parallel in substance to the authority granted by the Pickett Act – including the ability of the

President to "revoke[]" prior withdrawals – is belied by the existence of Section 8 of OCSLA,

which allows the Secretary to choose not to offer leases in portions of the OCS. This argument

goes too far. Not issuing a lease (a discretionary decision for a particular sale) is not the same as,

or a duplication of, the decision of the President to close a particular area to leasing until the

President modifies that decision.

       The Ninth Circuit recognized the distinction between these two statutory provisions in

Bob Marshall Alliance v. Hodel, 852 F.2d 1223, 1229-30 (9th Cir. 1988). There, the issuance of

certain leases was being challenged under the National Environmental Policy Act. In rejecting

the argument by an intervenor that a "no action alternative" – that is, choosing not to issue the

leases – would constitute an illegal withdrawal of land from leasing, the Ninth Circuit

distinguished the decision not to lease from a withdrawal – one a formal decision to put the

property beyond the possibility of leasing and the other a choice not to issue a particular lease.

Id. That same sensible distinction exists in OCSLA and cannot be read to negate Congress' intent

to provide "comparable" authority to the President as that which existed in the uplands –

including the right to modify or reverse prior withdrawals. 7




7 Plaintiffs also try to brush aside Executive Orders delegating upland withdrawal authority to the
Secretary of the Interior that expressly allow modification and reversal of prior withdrawals by
claiming that these statutes are distinguishable because they expressly grant this authority. But
Plaintiffs miss Congress' clear intention that the uplands authority and the OCSLA authority
related to withdrawals be "comparable." S. Rep. No. 83-411 at 26. By acknowledging the



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               2.      Executive Order No. 13795 Continues the Precedent Set By Prior
                       Actions Under OCSLA.

       Plaintiffs assert that Executive Order No. 13795 is "unprecedented" in the history of

Section 12(a). Pl. Reply at 13. In their attempt to support this assertion, they warp the history of

Presidential action under Section 12(a) and overlook Congress' acquiescence in that history.

       First, it is notable that in the more than sixty-year history of Section 12(a), Presidents

have exercised their authority pursuant to this provision only twelve times. Nonetheless, there is

precedent for Executive Order No. 13795. See Def. Br. at 7-10. Two of these modifications

reduced the area previously withdrawn by a prior Executive order. In 2008, President George W.

Bush re-opened OCS areas off the shores of California, Washington, and Oregon, the North

Atlantic, Mid-Atlantic, and South Atlantic planning areas, the eastern Gulf of Mexico, and the

North Aleutian Basin planning area. See Memorandum on Modification of the June 12, 1998,

Withdrawal of Certain Areas of the United States Outer Continental Shelf from Leasing

Disposition, 43 Weekly Comp. Pres. Docs. 19, 19 (Jan. 9, 2007) (ECF No. 13-11); Memorandum

on Modification of the Withdrawal of Areas of the United States Outer Continental Shelf from

Leasing Disposition, 44 Weekly Comp. Pres. Docs. 986 (July 14, 2008) (ECF No. 13-12). Where

a prior President has undertaken a nearly identical action under Section 12(a), there is no

definition of "unprecedented" that would apply to Executive Order No. 13795.

       In seeking to cast Executive Order 13795 as unprecedented, Plaintiffs contrive a

distinction between the authority to modify withdrawals that are limited to a specific time frame




authority to modify and revoke prior withdrawals on the uplands, therefore, Plaintiffs effectively
concede the congressional intent that the President be able to modify or revoke prior withdrawals
under OCSLA. Nothing in the committee reports indicate an intent to only extend uplands
authority that is expressly described in statutory language.



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and those that were issued "for a time period without specific expiration." 8 Pl. Reply at 17. But

they have no authority reading Section 12(a) to authorize modifications in the former case but

not the latter. In other words, if Section 12 authorizes the President to revoke withdrawals with a

specified expiration, nothing in the provision indicates why the answer would be different for

withdrawals where the precise time of expiration was not specified.

       Moreover, Plaintiffs' attempt to dismiss these prior modifications of withdrawals as done

in "concert" with Congress does not provide a meaningful distinction. The statutory changes to

which they point did not require the President to modify the prior withdrawals. In short, before

President George W. Bush took action in 2007 and 2008, there were two bars to development of

oil and gas in the areas covered by President Clinton's prior withdrawal: (1) the congressional

annual appropriations statute and (2) the Executive Order issued by President Clinton. Congress'

decision not to renew the prohibitions on the use of appropriated funds for lease sales simply

removed one of the two bars to development. Nothing in the appropriations statute required or

explicitly authorized President Bush to modify the Executive Orders issued under Section 12(a).

President Bush made those modifications "[u]nder the authority vested in [him] as President of

the United States, including Section 12(a) . . . ," not pursuant to the appropriations statutes that,

by silence, discontinued the congressional ban on exploration and development of the OCS.

       Plaintiffs also have no good answer to President Obama's modification of a prior

withdrawal under Section 12(a). President Obama replaced his prior withdrawal that had a

specific expiration date with a withdrawal that had no specific expiration. To be consistent with




8
 Notably, the Plaintiffs avoid the language actually used by President Obama in his Executive
Orders – that the withdrawals were for a time period without specific limitation – and replace it
with the term "permanent." Pl. Reply at 13. In doing so, Plaintiffs assume a meaning not given
by the plain language of President Obama's Orders.

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their statutory interpretation, Plaintiffs should assert that the second modification was unlawful.

Instead, Plaintiffs contend that labeling this as a modification is to "elevate form over substance."

Pl. Reply at 18 n.13. Either Congress granted the authority to modify or revoke prior withdrawals

or it did not. As demonstrated above, Congress did grant that authority and President Obama

himself exercised it.

       Plaintiffs' bold assertion that Executive Order 13795 is "unprecedented" is wrong.

               3.       Congress Acquiesced in the President's Modification of Former
                        Withdrawals.

       Plaintiffs claim that the history of Presidential actions pursuant to Section 12(a) is too

slight to warrant a finding of congressional acquiescence. They deny that the modifications by

the last two Presidents can represent an "unbroken pattern" sufficient to warrant a finding of

acquiescence. Pl. Reply at 18-21. They choose an odd example to make this point.

       Specifically, Plaintiffs point to Congress's decision to override President Truman's

executive order setting aside the continental shelf as a petroleum reserve for the Navy. Id at 20.

What this example shows, however, is both that Congress knows well how to act when it wishes

to override the President's actions under his withdrawal authority and that it intends OCSLA to

be a statute focused on development of the mineral reserves. Congress, however, has not stepped

in to override any of the Executive Orders modifying or revoking prior withdrawals, including

Executive Order 13795. See, e.g., Dames & Moore v. Regan, 453 U.S. 654, 684-85 (1981)

(upholding a settlement entered into by the President and finding based on a precedent of at least

ten settlements that Congress did not overturn that "[t]he President has exercised the power,

acquiesced in by Congress . . . ."). Moreover, in evaluating the question of congressional

acquiescence, the Supreme Court has found it "telling" when Congress had considered limiting

the President's authority and decided against it. Id. at 685. As Plaintiffs acknowledge, Congress



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has considered narrowing the President's authority under OCSLA Section 12 to certain purposes

– specifically national security – but concluded it was unwise to cabin the President's discretion.

See Pl. Reply at 9-10; Def. Br. at 26-27 (and authorities cited therein).

       In sum, past Presidents have taken actions modifying or revoking prior withdrawals made

pursuant to Section 12(a). Congress was aware of these actions and took no action to overturn

them. In such circumstances, it is clear Congress has acquiesced in that interpretation of Section

12(a). Accordingly, Defendants are entitled to summary judgment.

       D. Plaintiffs Are Not Entitled to An Injunction

       Plaintiffs correctly concede that they cannot obtain an injunction against the President –

"Plaintiffs' requested remedy does not require that the President take or refrain from taking any

action." Pl. Reply at 21. Moreover, as demonstrated above and in their opening brief, Defendants

have established that they are entitled to summary judgment based on the language, purpose and

legislative history of OCSLA. Accordingly, no injunction should issue.

       Plaintiffs do not address the Defendants' arguments regarding the balance of the equities,

arguing simply that they are not required to assert a claim pursuant to the Administrative

Procedure Act. Even were they correct on that point, the balance of the equities still weighs

against the issuance of an injunction in this case. Even if the Court concluded that Plaintiffs have

established sufficient standing at the summary judgment stage, an injunction in this matter would

bar actions that have not yet been taken or even articulated in detail. Accordingly, where the

injuries could be resolved simply by declaratory relief, an injunction would be improper. See

Franklin v. Massachusetts, 505 U.S. 788, 796-801 (1992).




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III.   CONCLUSION

       President Trump's Executive Order 13795 is supported by the statutory language, its

structure and purpose, and legislative history. Therefore, Defendants are entitled to summary

judgment in their favor.

 Dated: October 5, 2018                       Respectfully submitted,
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                                     Certificate of Service

       I hereby certify that on October 5, 2018, I filed the foregoing with the Clerk of Court

using the CM/ECF system, which will provide service to all attorneys of record.

                                                  _________/s/________________
                                                  Sarah D. Himmelhoch
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